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Attorneys for Defendant JOHN HUSZAR


                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION


 DALLAS BUYERS CLUB, LLC,                    Case No.: 3:15-cv-0907-AC

               Plaintiff,                    DEFENDANT’S OPPOSITION TO
 v.                                          PLAINTIFF’S EX PARTE APPLICATION
                                             FOR A BRIEF EXTENSION OF THE
 JOHN HUSZAR                                 DEADLINES SET FORTH IN THE
                                             SCHEDULING ORDER
               Defendant.


        Defendant John Huszar (“Defendant”) opposes Plaintiff Dallas Buyers Club, LLC’s



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(“DBC”), Ex Parte Application for a Brief Extension of the Deadlines Set Forth in the Scheduling

Order of May 8, 2019 (“MOET”). (See Dkt 165). The MOET should be denied as there is no

legitimate reason to further delay this case.


                                            MEMORANDUM
       I.      COUNSEL OF RECORD
       The Counsel of Record for Plaintiff has been Wendy Lyon since April 3, 2019 (Dkt. 160).

Ms. Lyon remains the counsel of record up to and including the filing of the MOET, as Mr.

Bandlow has not been admitted to this district in any capacity. Such an admission is not guaranteed,

as a similar application was denied in another court roughly one year ago for Mr. Bandlow. See

Strike 3 Holdings, LLC v. John Doe (1:18-cv-02132), E.D. New York, May 4, 2018.

       As noted in the MOET, the file for this case has resided with Fox Rothschild LLP. Fox

Rothschild LLP also happens to be the firm that employs the counsel of record in this case, Ms.

Lyon. As such, per the MOET, the counsel of record in this case had full access to prepare the

supplemental briefing, and any delay is unexplained. Further, all factual assertions in the MOET

are pure hearsay unsupported by a proper declaration.



       II.     REASONS TO DENY THE MOET

       As explained to Mr. Bandlow (see Decl. of Michael O. Stevens), Defendant and his counsel

are concerned about how long this case has continued for, which is now nearly four years. This is

due in part to the numerous extensions Plaintiff has requested in this case. Plaintiff has made four

requests for extensions of time just since DBC filed its motion for summary judgment. See Dkts.

132, 136, 140, and 142. Defendant did not previously oppose such requests out of professional

courtesies, but at some point Plaintiff needs to abide by the schedule set forth by the Court, and

that time has come.

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          Furthermore, as noted in the correspondence with Mr. Bandlow, Defendant also objects to

the MOET due to the documented health reasons noted in the docket. Continued delays do nothing

than continue the anxiety suffered by Defendant, which had led to the earlier delays in this case.

The sooner the case comes to a conclusion, the better for Defendant, as justice delayed is justice

denied.

          Meanwhile, Plaintiff has provided no legitimate reason for yet another delay in this case.

The Court is only allowing supplemental briefing on motions that were fully briefed long ago.

There is little new case law that would be pertinent to the facts and laws at issue here, and actual

counsel for Plaintiff could have completed that research long ago, and should be prepared to file

on the original deadline. Waiting until Tuesday, June 4, 2019, to approach counsel for Defendant

also prejudices Defendant, who has been preparing to timely file his supplemental briefing. See

Decl. of J. Curtis Edmondson.

          This would be a different story had Mr. Bandlow approached Defense counsel much

sooner, or had a proper reason for the need for further delay. But there is no proper reason for the

delay, such as some sort of unexpected issue arising. Mr. Bandlow admits he came onto the case

prior to the issuing of the scheduling order at issue here. See exhibits to Decl. of Michael O.

Stevens. Everything needed in the case is available on PACER, so there is no just, proper reason

for the delay.

          Lastly, counsel of record for Plaintiff has been involved in the case for two months and

works for the firm where the file was allegedly located. Defendant notes there was no declaration

included with the MOET, so we have nothing properly in the record regarding the circumstances

alleged in the MOET. However, the Court’s records do show that Ms. Lyon has been actively

involved in litigating other cases in this district for her firm. See Decl. of J. Curtis Edmondson.



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Further, LR 83-3(a)(1) requires her meaningful participation in this case. Thus, Ms. Lyon should

have her supplemental briefing prepared, as she has not made any motion for an extension of time

nor explained why she is unable to timely file the supplemental briefing.



       III.    CONCLUSION

       Plaintiff has continued to delay this case since summary judgment was sought by both

parties. Further delays are simply unwarranted. For the reasons set forth above, Defendant

respectfully requests the Court deny the Motion for an Extension of Time, leaving the current

briefing schedule intact.




DATED: June 7, 2019                                 Respectfully submitted,

                                                    STEVENS & LEGAL, LLC

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